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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

  INGRID FORD,                                         CASE NO:

          Plaintiff,

  v.

  KAPLAN UNIVERSITY D/B/A IOWA
  COLLEGE, a Foreign Profit Corporation,
  KAPLAN EDUCATIONAL CENTERS,
  INC. and KAPLAN INC.; and
  WENDY LUTHERAN, an individual,

          Defendants.
                                                   /


                           NOTICE OF AND PETITION FOR REMOVAL

         Defendants, Kaplan University d/b/a Iowa College, Kaplan Educational Centers, Inc.,

 Kaplan, Inc., and Wendy Lutheran (collectively, “Defendants”), through their undersigned counsel

 and pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, hereby remove this action currently pending

 in the Circuit Court of the Seventeenth Judicial Circuit in and for Broward County, Florida, to the

 United States District Court for the Southern District of Florida. The removal of this action is

 based upon the following:

         1.         On or about May 3, 2021, Plaintiff, Ingrid Ford (“Plaintiff”), filed a Complaint in

 the Circuit Court of the Seventeenth Judicial Circuit in and for Broward County, Florida, captioned

 as Ingrid Ford v. Kaplan University d/b/a Iowa College, Kaplan Educational Centers, Inc., Kaplan

 Inc., and Wendy Lutheran, Case No. CACE-21009135 (the “State Action”). A copy of the State

 Action was served on Defendants on May 27, 2021. This constituted Defendants’ first legal notice

 of the State Action for purposes of removing the State Action to this Court.




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         2.         A true and correct copy of the record and all filings in the State Court Action is

 attached together hereto as Exhibit “A” and incorporated herein by reference pursuant to Federal

 Rule of Civil Procedure 10(c). No other process, pleadings or orders have been served upon

 Defendants.

         3.         Plaintiff’s three-count Complaint seeks damages for alleged violations of the

 Americans with Disabilities Act (“ADA”) and tortious interference with an employment

 relationship. [See Complaint, ¶¶ 16-47.]

         4.         Any civil case filed in a state court may be removed by a defendant to federal court

 if the case could have been brought originally in federal court. 28 U.S.C. § 1441(a); see, e.g.,

 Lawson v. Garcia-Lawson, 398 Fed. Appx. 572, 572-73 (11th Cir. 2010); Cogdell v. Wyeth,

 366 F.3d 1245, 1248 (11th Cir. 2004); Joseph v. Nichell's Caribbean Cuisine, Inc., 862 F. Supp.

 2d 1309, 1311 (S.D. Fla. 2012).

         5.         Under federal question jurisdiction, the United States District Courts “have original

 jurisdiction over all civil actions arising under the Constitution, treaties or laws of the United

 States.” See 28 U.S.C. § 1331. Because Plaintiff brings claims arising under the ADA, district

 courts have original jurisdiction pursuant to 28 U.S.C. § 1331. See Davis v. Starkman, 2005 WL

 8156833 (S.D. Fla. Oct. 5. 2005) (explaining that the court has federal question jurisdiction over

 a claim arising under the ADA). Therefore, this Court has federal question jurisdiction over

 Counts I and II of Plaintiff’s Complaint

         6.         This Court also has supplemental jurisdiction over Counts II and III of Plaintiff’s

 Complaint, disability discrimination in violation of the Florida Civil Rights Act and tortious

 interference, respectively, pursuant to 28 U.S.C. § 1367(a). “District Courts have the power to

 exercise supplemental jurisdiction over all state law claims that are so related to claims that are

 within the Court’s original jurisdiction that they form part of the same ‘case or controversy’ under

 Article III of the United States Constitution.” Mercado v Congress Auto Parts Co., Case No. 18-

 cv-80325-BB, 2018 WL 3353059 (S.D. Fla. June 13, 2018).


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         7.         This Court has supplemental jurisdiction over Counts II and III of Plaintiff’s

 Complaint because the claims arise from the same facts, witnesses, and evidence. See Hopkins v.

 American Security Grp. A-1, Inc., Case No. 17-22447-CIV-MORENO, 2017 WL 4326099 (S.D.

 Fla. Sept. 26, 2017) (exercising supplemental jurisdiction over state law claim that arises out of

 the same set of facts).

         8.         Plaintiff re-alleges and re-incorporates the same factual allegations into each Count.

 The same facts are applicable to each individual Count in Plaintiff’s Complaint. Therefore this

 Court has supplemental jurisdiction over Counts II and III of Plaintiff’s Complaint.

         6.         This Notice of and Petition for Removal is filed within thirty (30) days after the

 date on which Defendant first received notice of the State Action. See 28 U.S.C. § 1446(b).

 Defendant has not yet filed any responsive pleading in this matter.

         7.         For the reasons stated above, this action is removable to this Court pursuant to the

 provisions of 28 U.S.C. §§ 1441 and 1367.

         8.         Defendant has, simultaneously with the filing of this Notice of and Petition for

 Removal, giving written notice of the filing to Plaintiff as required by 28 U.S.C. § 1446(d).

         9.         A copy of this Notice of and Petition for Removal has simultaneously been filed

 with the Clerk of the Circuit Court of the Seventeenth Judicial Circuit in and for Broward County,

 Florida, as required by 28 U.S.C. § 1446(d).

         10.        Venue is proper in the Southern District of Florida in that the State Court action is

 pending within the jurisdictional confines of this district.




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         WHEREFORE, Defendants hereby remove this case to the United States District Court

 for the Southern District of Florida.

 Date: June 16, 2021                            Respectfully submitted,

                                                /s/ Susan N. Eisenberg
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                                  CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on June 16, 2021, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system. I also certify that the foregoing document is

 being served this day on all counsel of record identified on the attached Service List in the manner

 specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

 other authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.

                                                /s/ Susan N. Eisenberg
                                                Susan N. Eisenberg




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                                         SERVICE LIST

                              Ingrid Ford v. Kaplan University, et. al.

                                   United States District Court
                                   Southern District of Florida

                                             Case No.:


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